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AO 245B (CASDRev. 08/l3) Judgment in a Criminal Case


                                   UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA                                        20! 5     -6 PH 2: 21
              UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL-CASE
                                                                   (For Offenses Committed On or After ito'vember I, 1987)
                           V.
                   FRANK GIBSON III (21)
                                                                     Case Number:         14CR3537-BAS"{--­

                                                                   AMBER RABON-LUNA
                                                                   Defendant's Attorney
 REGISTRATION NO.                 48894298


 IZI pleaded guilty to count(s)      ONE (1) OF THE INDICTMENT

 o was found guilty on count(s)
     after a plea of not guilty.                   ,
 Accordingly, the defendant is adjudged guilty ofsuchcount(s), which involve the followingoffense(s):
                                                                                                                       Count
 Title & Section                   Nature of Offense                                                                  Number(sl
 18 USC 1962(d)                    CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                              1
                                   THROUGH A PATTERN OF RACKETEERING ACTIVITY




     The defendant is sentenced as provided in pages2 through                 4           of this judgment.
 The sentence is imposed pursuantto the, Sentencing Reform Act of 1984.
  o The defendant has been found not guilty on count(s)
  D     Count(s)                                              is          dlsmissed on the motion ofthe United States.

  IZl   Assessment: $1 00.00



  IZl No fine               0 Forfeiture pursuant to order filed                                       , included herein.
        IT IS ORDERED that the defendant shall notify. the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.,


                                                                    OCTOBER 5. 2015
                                                                    Dare ofImpmition      OfiC
                                                                    HON_B                        HANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                      14CR3537-BAS
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 EIGHTEEN (18) MONTHS




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
  o    The court makes the following recommendations to the Bureau of Prisons:




                                       .           "      '..    .             . '



  o     The defendant is remanded to the custody ofthe United States MarshaL
                                 .         ..
  o     The defendant shall surrender to the United States Marshal for this district:
        o    at
                  ---------------- AM.
        o    as notified by the United States MarshaL ..

        The defendant shall surrender for service ofsentence at the institution designated by the Bureau of
  o     Prisons:
        o    on or before
        o    as notified by the United States Marshal ..
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
  I have executed this judgment as follows:

        Defendant delivered on                                            to
                                     ----------~~-----------                   ~----------------------------
  at _ _ _ _ _ _ _ _ _ _-,--_' with a certified copy of this judgment.


                                                                     UNITED STATES MARSHAL



                                           By                   DEPUTY UNITED STATES MARSHAL


                                                                                                        14CR3537-BAS
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D      substance abuse. (Check, if applicable.)                     .
       The defendant shall not possess a firearm,. ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC section 3583 (a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
 D     seq.) as directed by the probation officer, the Bureau ofPrisons, or any state sex offenderregistration agency in which he or she
       resides, works, is a student, or was convictedofa qualifying offense. (Checkifapplicable.)
 D     The defendant shall participate in an approved program for domestic violence. (Check if applicable.)
                                          "               '          ..'                            . '

          If this judgment imposes a fine or a restitution obligation, It shall be a condition ·of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follOw the instructions ofthe probation officer;
     4)  the defendant shall support his.or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessi ve use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view ofthe probation officer;                          .
     11) the defendant shall notify the probation officer within seventy~two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Participate in a program of mental health treatment as directed by the probation officer, take all
        medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
        permission. The court authorizes the release of the presentence report and available psychological
        evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be required to
        contribute to the costs of services rendered in an amount to be determined by the probation officer,
        based on ability to pay.

     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


     3. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
        by a United States Probation Officer at a reasonabie time and in a reasonable manner, based upon
        reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
        to a search maybe grounds for revocation; the defendant shall warn any other residents that the premises
        may be subject to searches pursuant to this condition.

     4. Shall not knowingly associate with any known member, prospect, or associated of the (Tycoons and
        Neighborhood Crips), or any other gang, or club with a history of criminal activity, unless given
        permission by the probation officer.


     5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
        associated with a gang, unless given permission by the probation officer.


     6. Shall not knowingly loiter, or be present in locations known to be areas where gang members
        congregate, unless permission by the probation officer.


     7. Shall not knowingly associate with prostitutes   or pimps and/or loiter in areas frequented by those
        engaged in prostitution and sex trafficking.



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